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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTICT OF TENNESSEE
                              WESTERN DIVISION


STEVE STAPLETON, JR. and                          *
RICHARD STAPLETON,                                *
                                                  *
        PLAINTIFFS,                               *
                                                  *
vs.                                               *      NO. ____________________
                                                  *
MONUMENTAL LIFE INSURANCE                         *
COMPANY,                                          *
                                                  *
        DEFENDANT.                                *


                                  NOTICE OF REMOVAL


        Pursuant     to     28    U.S.C.     §§       1441    and    1446,    Defendant

Monumental Life Insurance Company files this Notice of Removal,

stating as follows:

        1.   On November 21, 2008, the Plaintiffs commenced a civil

action, which is pending in the Chancery Court of Shelby County,

Tennessee    under        the    style    Steve       Stapleton,    Jr.    and   Richard

Stapleton v. Monumental Life Insurance Company, Docket No. CH-

08-2175-1.        Plaintiffs’ Complaint for Specific Performance and

Other    Relief    alleges,       inter    alia,       that   on    August   12,    2007,

Plaintiffs’ father, Steve Stapleton, Sr., a resident of Shelby

County, Tennessee, was found dead in his home.                            (Compl. ¶ 4).

Plaintiffs allege that they have made a claim to Monumental Life

Insurance Company under a policy that they allege insured their

father against the risk of accidental death and dismemberment,
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which claim has been denied.                   (Compl. ¶¶ 5-6).            Plaintiffs are

seeking specific performance of the insurance contract, treble

damages     pursuant     to    the        Tennessee        Consumer       Protection       Act

(“TCPA”),    Tenn.      Code       Ann.    §    47-18-101,         et    seq.,      statutory

penalties pursuant to the Tennessee bad faith statute, Tenn.

Code Ann. § 56-7-105, and an award of attorneys’ fees.

     2.      According        to    the     certificate       of    death       attached    as

Exhibit B to Plaintiffs’ Complaint, Plaintiff Steve Stapleton,

Jr. is a resident of Collierville, Tennessee.                             At all relevant

times,    Plaintiff     Steve       Stapleton,        Jr.     has       been    a   Tennessee

resident.

     3.     On or about September 5, 2007, co-Plaintiff Richard

Stapleton submitted a claim form to Monumental Life Insurance

Company,     in   which        he     listed         his     address       as       Southaven,

Mississippi.      See attached Exhibit 1.                    At all relevant times,

co-Plaintiff Richard Stapleton has been a Mississippi resident.

     4.     At    all    relevant         times,       Monumental         Life       Insurance

Company     (“Monumental       Life”)          has    been    an    insurance         company

organized under the laws of Iowa, with its principal place of

business in Maryland.

     5.     At paragraph 8 of Plaintiffs’ Complaint, Plaintiffs

allege     that   the     acts        and       omissions      of        Monumental       Life

“complained of herein are in direct violation of the common law


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of contract, the equitable principles of good faith dealing, the

provisions of the Tennessee Consumer Protection Act codified at

T.C.A. 47-18-101 et seq. and the provisions of T.C.A. 56-7-108

[sic], Additional liability upon insurers and bonding companies

for bad-faith failure to pay promptly . . . .”                         (Compl. ¶ 9).

      6.        In paragraph 4 of their prayer for relief, Plaintiffs

likewise request that they be awarded “such damages to which

Plaintiffs may be entitled in the premises in addition to the

remedy     of    specific    performance          including      but    not   limited   to

treble     damages,      attorney       fees,      prejudgment         interest,    etc.”

(Compl., p. 6).

      7.        Although not specifically pled in the Complaint, the

amount     of    insurance       at   issue       under    the    subject     policy    is

$50,000.00.       See attached Exhibit 1.

      8.        Based   on   a   fair   reading       of    Plaintiffs’       Complaint,

including their request for an award of attorneys’ fees and

treble damages under the TCPA, it is clear that the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

See   Williamson v. Aetna Life Ins. Co., 481 F.3d 369, 377 (6th

Cir.) (including, for amount in controversy purposes, potential

attorneys’ fees awardable under TCPA and bad faith statute),

cert. denied, 128 S.Ct. 671 (2007); Hayes v. Equitable Energy

Resources Co., 266 F.3d 560, 572-73 (6th Cir. 2001).


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      9.    Copies of the Complaint for Specific Performance and

Other Relief (including exhibits) and the Summons served upon

Monumental Life through the Tennessee Commissioner of Insurance

are attached hereto as Exhibit 2.              Exhibit 2 consists of all

process and pleadings received by Monumental Life, no orders

having been served upon Monumental Life.

      10.   The subject action is a civil action of which this

Court has jurisdiction pursuant to the provisions of 28 U.S.C. §

1441 in that (a) the Plaintiffs and the Defendant are citizens

of   different   states;   (b)   the       amount   in   controversy   exceeds

$75,000.00, exclusive of interest and costs; and (c) this action

is within the original jurisdiction of the Court pursuant to the

provisions of 28 U.S.C. § 1332.

      11.   Written notice of the filing of this Notice of Removal

is being given to the adverse parties, and a Notice of the

filing of this Notice of Removal is being filed with the Clerk

of the Chancery Court of Shelby County, Tennessee.                 A copy of

the Notice of Filing of Notice of Removal, excluding the exhibit

(this Notice of Removal), is attached hereto as Exhibit 3.

      12.   By filing this Notice of Removal, Monumental Life does

not waive, either expressly or implicitly, its right to assert

any defenses and/or objections which it could have asserted in

the Chancery Court of Shelby County, Tennessee.


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     WHEREFORE,    Defendant    Monumental    Life   Insurance      Company

removes to this Court the above action now pending against it in

the Chancery Court of Shelby County, Tennessee.


                                        Respectfully submitted,

                                        BURCH, PORTER & JOHNSON, PLLC


                                        By: s/ DeWitt M. Shy, Jr.
                                        DeWitt M. Shy, Jr. (# 5163)
                                        David Goodman, Jr. (# 021493)
                                        130 North Court Avenue
                                        Memphis, Tennessee 38103
                                        (901) 524-5000

                                        Attorneys      for         Defendant
                                        Monumental     Life        Insurance
                                        Company




                        CERTIFICATE OF SERVICE

     I do hereby certify that a true and correct copy of the
foregoing was forwarded via United States Mail, postage prepaid,
to Terry C. Cox, Esq., 149 South Rowlett Street, Collierville,
Tennessee 38017, and F. Auston Wortman, III, Esq., 149 South
Rowlett Street, Collierville, Tennessee 38017, on this the 31st
day of December, 2008.


                                        s/ DeWitt M. Shy, Jr.
                                        DeWitt M. Shy, Jr.




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